         Case 1:16-cr-00085-PGG Document 123 Filed 11/09/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

                -against-                                         ORDER

 JOSUE TORRES,                                                16 Cr. 85 (PGG)

                            Defendant.



PAUL G. GARDEPHE, U.S.D.J.:

                The hearing concerning Defendant’s alleged violation of supervised release

previously scheduled for November 18, 2020 is now scheduled for November 12, 2020 at 12:00

p.m.

                The parties are directed to dial 888-363-4749 to participate, and to enter

access/security code 6212642. The press and public may obtain access to the telephone

conference by dialing the same number and using the same access/security code. To the extent

that any party’s contact information has changed since the September 10, 2020 conference, the

party must email GardepheNYSDChambers@nysd.uscourts.gov the phone number that the party

will be using to dial into the conference so that the Court knows to un-mute that number. The

email should be sent by November 10, 2020 and include the case name and case number in the

subject line.

Dated: New York, New York
       November 9, 2020

                                              SO ORDERED.



                                              _________________________________
                                              Paul G. Gardephe
                                              United States District Judge
